          Case 1:20-cv-03589-JEB Document 96 Filed 01/11/21 Page 1 of 7




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 STATE OF NEW YORK, et al.,

                                Plaintiffs,

                         v.                               Civil Action No. 1:20-cv-03589 (JEB)

 FACEBOOK, INC.

                                Defendant.


                          REPLY MEMORANDUM IN SUPPORT OF
                         PLAINTIFFS’ MOTION TO CONSOLIDATE

       Facebook does not meaningfully dispute that consolidation of this action and Federal

Trade Commission v. Facebook, Inc., 20 Civ. 03590 (the “FTC Action”) is warranted. To the

contrary, Facebook acknowledges that combining the two cases would increase judicial

efficiency and reduce excess cost to Facebook and the government plaintiffs. Facebook

concedes that the FTC Action should be transferred to this Court, that this Court should hear any

motions to dismiss, and that this Court should have the ability to “set parallel case deadlines,

including briefing schedules and hearings.”

       Moreover, Facebook does not identify any confusion or prejudice that would result from

consolidation, either now or after a motion to dismiss. In fact, the only reason Facebook offers

to delay consolidation is the possibility that this action could be subject to transfer by the Judicial

Panel on Multidistrict Litigation (“MDL”). But transfer is certainly not appropriate for this

governmental enforcement action, and splitting this case from the FTC Action after the

governments’ coordination to date through both investigation and litigation would be dilatory
          Case 1:20-cv-03589-JEB Document 96 Filed 01/11/21 Page 2 of 7




and wasteful. Now is the time to consolidate the cases to avoid inefficiencies and delays,

particularly as any future MDL attempts would be fruitless.

1.     The cases should be consolidated now to maximize efficiency and convenience
       and minimize prejudice and confusion.

       Facebook does not dispute that both this action and the FTC Action (i) allege facts

developed as part of coordinated investigations, (ii) challenge the same or similar actions by

Facebook, and (iii) state claims of illegal monopolization under Section 2 of the Sherman Act in

a market defined as personal social networking services in the United States. In addition, both

complaints are brought in the public interest and seek similar equitable relief, including

prohibiting the conduct and similar activity in the future, and requiring divestiture and prior

notice for further acquisitions. See FTC Complaint at 51-52; State Complaint at 74-75. This

consolidation is therefore appropriate and necessary. See, e.g., Moffett v. Prudential Life Ins. Co.

of Am., No. 11-CV-00454 (RLW), 2011 WL 13250203, at *3 (D.D.C. Sept. 21, 2011) (holding

that consolidation was appropriate with respect to complaints “alleging the same . . . violations

against the same defendants and seeking the same relief”); Walter O. Boswell Mem’l Hosp. v.

Heckler,573 F. Supp. 884, 886 (D.D.C. 1983) (“Inasmuch as plaintiffs attack the regulation on

the same grounds and seek identical relief, the cases have been consolidated for trial”).

       Facebook also concedes that this Court should decide its likely forthcoming motions to

dismiss both the States’ and the FTC’s complaints. This concession also makes sense: this

Court should decide any and all motions to dismiss that Facebook may file in order to reduce the

chances for confusion and uncertainty. See, e.g., Chang v. U.S., 217 F.R.D. 262, 266-67 (D.D.C.

2003) (“Far from rendering this litigation more unwieldy, consolidation would increase

efficiency by reducing the possibility of duplicative discovery and by achieving judicial




                                                 2
          Case 1:20-cv-03589-JEB Document 96 Filed 01/11/21 Page 3 of 7




economy in the adjudication of potentially dispositive motions involving similar material facts, a

single group of actors present during the events at issue, and common questions of law.”)

        Despite these concessions, Facebook asks the court to delay the ordinary and prudent

course of consolidation simply to retain the possibility that Facebook might later move to

transfer this proceeding to an MDL – notably, an action Facebook could take today if it desired.

Facebook, however, asks this Court to kick the can down the road while providing no example of

any other courts that have taken this novel approach of reassignment without consolidation. In

fact, joint antitrust enforcement proceedings between the federal government and state

authorities routinely proceed as consolidated actions. See, e.g., Colorado v. Google LLC, 20 Civ.

3715, Dkt. No. 67, (D.D.C., Jan. 7, 2021) (consolidating federal and state antitrust actions

against Google for pretrial purposes); United States v. Microsoft Corp., 98 Civ. 1232, 1998 WL

614485 (D.D.C. Sept. 14, 1998) (noting that the court had consolidated the federal and state

antitrust actions against Microsoft, and that the governments sought “virtually the same”

injunctive relief).

        Facebook also misstates the impact of delaying consolidation when it contends that: “In

the period preceding Facebook’s date for an initial response to the complaints (February 8, 2021)

in these two government actions, there will be no activities for which consolidation would

promote efficiency.” Dkt. No. 80 at 5. First, the delay proposed by Facebook will extend well

beyond February 8, 2021. At Facebook’s request, the States and the FTC jointly agreed on

December 31, 2020 to extend Facebook’s deadline to respond to the complaints until March 10,

2021.

        Second, it is inaccurate to suggest that “there will be no activities for which consolidation

would promote efficiency,” before a decision on any motion to dismiss. Time is of the essence



                                                  3
          Case 1:20-cv-03589-JEB Document 96 Filed 01/11/21 Page 4 of 7




in this matter, and it is the position of the States and the FTC that this litigation must move

expeditiously. The FTC’s and States’ complaints contain significant examples of

anticompetitive conduct by Facebook revealed by their coordinated investigations, and the harm

caused by that conduct is ongoing. It is unlikely that these claims will be dismissed in their

entirety; Facebook itself has only predicted that “it is possible that some claims and parties” may

be dismissed. Dkt. 80 at 3. In addition, both complaints seek equitable relief, including the

divestiture of WhatsApp and Instagram, and in the face of this existential threat to its business

model, Facebook is pressing ahead with further integration of these companies so that it can

argue that the relief requested is not possible.1

       In light of the need for prompt action in this case both the FTC and the States have asked

Facebook for an expeditious Rule 26 conference regardless of any motion to dismiss. To date,

however, Facebook has taken the position that the factfinding must be delayed for several

months because it may file motions to dismiss. If Facebook continues to take this position, the

States and the FTC anticipate filing substantially identical motions before this Court and Judge

Cooper, explaining why time is of the essence and requesting that Facebook be ordered to meet

and confer with them on these matters. The States respectfully submit that it would be preferable

to have one judge rule on these motions and to enter a subsequent consolidated Protective Order

and Case Management Order.

II.    MDL transfer is not appropriate and should not delay consolidation

       Facebook asserts vaguely that “[t]he potential for transfer” under 28 U.S.C. § 1407 is an

additional basis to defer consolidation. Dkt. No 80 at 4. There is, however, no pending motion



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 On Monday, January 4, for example, Facebook changed WhatsApp’s terms of service and
privacy policy to integrate it more closely with Facebook.
https://www.whatsapp.com/legal/updates/privacy-policy/?lang=en
                                                    4
          Case 1:20-cv-03589-JEB Document 96 Filed 01/11/21 Page 5 of 7




to transfer under Section 1407 and, as a consequence, this assertion is speculative at best.

Moreover, even if Facebook were to follow this course at some point in the future, its attempt to

transfer would be unlikely to succeed.

       Facebook fails to mention that Section 1407 (g) states: “Nothing in this section shall

apply to any action in which the United States is a complainant arising under the antitrust laws.”

Accordingly, the FTC Action could not be part of an MDL consolidation in any event and

splitting the FTC and State actions would hinder rather than foster judicial efficiency.

       The rule that 28 U.S.C. § 1407 (g) precludes consolidation for federal antitrust litigation

is based on “a clear public policy of prioritizing prompt resolution of Government antitrust

claims to provide expeditious relief to the public over possible efficiencies to be gained from

consolidation with private antitrust damages actions.” U.S. v. Dentsply Int’l., Inc., 190 F.R.D.

140, 145 (D. Del. 1999) (citing the legislative record for 28 U.S.C. § 1407 (g) in declining to

consolidate government and private plaintiff claims under Fed. R. Civ. P. 42). “To treat the

Government differently is not arbitrary, for the purpose of the governmental suit normally differs

from that of a private suit; the Government seeks to protect the public from competitive injury,

while private parties are primarily interested in recovering damages for injuries already

suffered.” H.R. REP. No. 90-1130, at 8 (1968), reprinted in 1968 U.S.C.C.A.N. 1898, 1905,

1968 WL 4929. The States are bringing this action in their sovereign and quasi sovereign

capacities to enforce relevant law and to safeguard the wellbeing of the States and their residents;

like the FTC, they are seeking expeditious equitable relief. This differs from the private actions,

which seek damages. In addition, the complaints filed by the States and FTC are the product of a

long, close cooperative investigation of Facebook’s actions, including joint investigative

hearings. Facebook offers no support for the idea that the JMPL would ignore this this history of



                                                 5
          Case 1:20-cv-03589-JEB Document 96 Filed 01/11/21 Page 6 of 7




coordination, the significant differences between the government actions and the private actions,

and the inefficiency, cost, and delay that would result from dividing these government actions.

       The only case that Facebook cites in support of its assertion that the States’ litigation

could be subjected to MDL consolidation is In re Generic Pharms. Pricing Antitrust Litig., 2017

WL 4582710, at *2 (J.P.M.L. Aug. 3, 2017). That decision is inapposite: in that case, there was

no parallel federal civil proceeding at all, and the only question was whether the standalone

states’ action (which seeks monetary restitution for past collusive price fixing), should be

combined with civil proceedings for money damages. Facebook’s citation to that litigation is

telling, however. Nearly three and a half years after the JMPL consolidated that litigation, the

docket of the resulting MDL stands at 1648 entries and 153 pre-trial orders, and depositions have

not commenced. A similar outcome might benefit Facebook, but it would not benefit the public

and it certainly would not promote governmental and judicial efficiency.

       Finally, Facebook has made much of the States’ and FTC’s pro forma related case filings,

which are required under Local Rule 40.5(b)(2) where another case “involves common issues of

fact” or “grows out of the same event or transaction.” Filing of that form, however, does not

involve any analysis or contemplation of whether the listed cases might be suitable candidates

for consolidation. The States take no position on whether the listed cases are suitable for

consolidation with each other, but it is clear that the cases are not suitable candidates for

consolidation with the States’ and FTC complaints, as discussed above.

IV.    Conclusion

       For the reasons set forth in its opening memorandum and above, the States respectfully

submit that the Court should exercise its discretion to consolidate the two actions now, in the

interests of efficiency and convenience of the Court and the parties, and to minimize confusion



                                                  6
          Case 1:20-cv-03589-JEB Document 96 Filed 01/11/21 Page 7 of 7




and prejudice. The States believe (and the FTC concurs) that the actions should be consolidated

through trial, but at a bare minimum, the actions should be consolidated now for any upcoming

motions to dismiss and for all discovery and pre-trial practice.

                                                      Respectfully submitted,


 Dated: January 11, 2021
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